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                     EXHIBIT A
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                                                June 17, 2013



           By Email

           Robert A. Sacks
           Sullivan & Cromwell LLP
           1888 Century Park East, Suite 2100
           Los Angeles, California 90067

             Sharp Electronics Corporation, et al. v. Hitachi, et al., No. 13-cv-1173 (MDL Docket
                                        No. 07-cv-5944) (N.D. Cal.)

           Dear Robert:

                       Plaintiffs Sharp Electronics Corp. and Sharp Electronics Manufacturing
           Company of America, Inc. (together “Sharp”) are eager to proceed with discovery in this
           matter.

                             Existing discovery orders in the MDL, including the Court’s April 3, 2012
           Order re Discovery and Case Management Protocol, contemplate coordinated discovery
           procedures that apply to all parties to the MDL. See Dkt. 1128, Order re Discovery and
           Case Management Protocol at 14 (“Discovery in all actions transferred to this MDL
           proceeding shall be coordinated.”). The Court requires coordination of discovery
           requests and responses, id. at 14-15, and sharing of discovery materials between
           plaintiffs, id. at 15.
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Robert A. Sacks                                                                          2


               Thomson Consumer Electronics, Inc. (“Thomson”) has not been a
defendant in the MDL previously, and thus the plaintiffs in the case have not sought
discovery from Thomson. The conferences and discovery plans envisioned by Rule
26(d)(1) have already occurred in a coordinated fashion in the MDL with most parties.
Sharp wishes to commence with written discovery vis-à-vis Thomson Consumer and
other defendants with no further delay.

               We believe discovery is appropriate given the timing and the underlying
MDL. We do not, however, wish to waste time if there will be a dispute about this.
Accordingly, if it is Thomson’s view that discovery between Sharp and Thomson is
premature for any reason, please let us know promptly, so that Sharp may seek the
Court’s intervention as appropriate.



                                         Very truly yours,

                                         /s/

                                         Craig A. Benson
